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        and Debtors in Possession

                                     IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE EASTERN DISTRICT OF TEXAS
                                                SHERMAN DIVISION



            In re:                                                             § Chapter 11
                                                                               §
            ZENERGY BRANDS, INC., et al.,1                                     § Case No. 19-42886
                                                                               §
                              Debtors.                                         § (Joint Administration Requested)

                    DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM
               AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO OBTAIN POST-
                PETITION FINANCING, GRANTING SENIOR POSTPETITION SECURITY
             INTERESTS AND ACCORDING SUPERPRIORITY ADMINISTRATIVE EXPENSE
              STATUS PURSUANT TO SECTIONS 364(C) AND 364(D) OF THE BANKRUPTCY




        1
          The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC (8045);
        Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC; Zenergy & Associates, Inc. (4022); and Zen
        Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano, TX
        75024.


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    CODE; (II) AUTHORIZING THE USE OF CASH COLLATERAL; (III) GRANTING
      ADEQUATE PROTECTION; (IV) MODIFYING THE AUTOMATIC STAY;
                     AND (V) GRANTING RELATED RELIEF


        The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)2

respectfully state the following in support of this motion (the “Motion”):3

                                      PRELIMINARY STATEMENT

        1.       The Debtors’ ability to obtain access to liquidity is critical to fund their operations

and these chapter 11 cases (collectively, the “Chapter 11 Case”). Recognizing this, the Debtors

sought financing from a variety of financial institutions, lenders, including their prepetition senior

creditor, TCA Global Credit Master Fund, LP (the “Prepetition Senior Creditor”), to secure the

DIP Facility. Failing to find DIP financing from any party other than the Lender, who is a lender

related to the Prepetition Senior Creditor, the Debtors seek the authority to obtain post-petition

financing pursuant to the proposed Senior Secured Revolving Credit Facility Agreement in the

Maximum Amount of US$5,000,000.00, with an initial draw of $2,000,000.00, from the Lender on

the terms and condition set forth in the Interim Order, which is attached as Exhibit A, any final

financing order, and the DIP Loan Documents (defined below), and to incur the DIP Obligations.

        2.       The DIP Facility will provide sufficient liquidity to fund the Chapter 11 Case and

the Debtors’ business operations. The DIP Facility will give the Debtors the funds necessary to

maintain their enterprise value while they develop and consummate a value-maximizing strategy




2
  Debtors’ filed their voluntary petitions for relief filed under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), on October 24, 2019 (the “Petition Date”). A detailed description of the Debtors and their
businesses, and the facts and circumstances supporting this motion and the Chapter 11 Cases, are set forth in greater
detail in the Declaration of Joshua Campbell, in Support of Chapter 11 Petitions and First Day Motions (the “First
Day Declaration”), filed on October 24, 2019. Capitalized terms used but not defined herein have the meaning ascribed
to such terms in the First Day Declaration.
3
 Capitalized terms otherwise not defined herein shall have the meaning ascribed to them in the Interim Order or the
DIP Facility, as applicable.

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to exit bankruptcy. The Debtors firmly believe that approval of the DIP Facility will maximize

value for their stakeholders and is a sound exercise of the Debtors’ sound business judgment.

Accordingly, the Debtors respectfully request that the United States Bankruptcy Court for the

Eastern District of Texas (the “Bankruptcy Court”) grant the requested relief.

                                                    Jurisdiction

        3.      The United States Bankruptcy Court for the Eastern District of Texas (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference of Bankruptcy Cases and Proceedings Nunc Pro Tunc from the United States District

Court for the Eastern District of Texas, dated August 6, 1984 (the “Standing Order”). The Debtors

confirm their consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), to the entry of a final order by the Court in connection with this Motion to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

        4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding

pursuant to 28 U.S.C. § 157(b).

        5.      The statutory bases for the relief requested herein are sections 105, 361, 362,

363(c), 364(c)(1); 364(c)(2); 364(c)(3), 364(d)(1), 364(e), and 507 of the Bankruptcy Code,

Bankruptcy Rules 2002, 4001, 9013 and 9014 and Rules 4001-1, 9007(b), and 9013-1 of the Local

Rules of Bankruptcy Procedure of United States Bankruptcy Court for the Eastern District of Texas

(the “Local Rules”).




                                                           3
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                                                   Background

       6.      The Debtors began their relationship with their Prepetition Senior Creditor in or

around August 2018, when the Debtors into that certain Investment Banking Services Agreement

dated August 22, 2018 (the “Services Agreement”).

       7.      As of the Petition Date, the Debtor has outstanding senior secured debt evidenced

by (a) that certain Securities Purchase Agreement, dated December 24, 2018 (the “Prepetition

Senior SPA”), (b) that certain Senior Secured, Convertible, Redeemable Debenture in the principal

amount of $1,750,000, dated December 24, 2018, (c) that certain Senior Secured, Convertible,

Redeemable Debenture (Fee Debenture) in the principal amount of $16,000, maturing December

24, 2020, dated December 24, 2018, (d) that certain Senior Secured, Convertible, Redeemable

Debenture (Fee Debenture) in the principal amount of $16,000, maturing June 24, 2021, dated

December 24, 2018, (e) that certain Promissory Note, dated October 10, 2019 (together, as

amended, modified and supplemented from time to time, the “Prepetition Senior Debentures” and

together with all related documents, guaranties and agreements, the “Prepetition Senior Debenture

Documents”), by and among (a) the Debtor, (b) the Guarantors, (c) Alex Rodriguez, and (d) the

Prepetition Senior Creditor.

       8.      As of the Petition Date, the aggregate outstanding principal amount owed by

the Debtor under the Prepetition Senior Debenture Documents was not less than $2,622,468.41

(the “Prepetition Credit Loan”) (together with any interest, fees (including, without limitation,

any early termination and prepayment fees), costs and other charges or amounts paid, incurred or

accrued prior to the Petition Date in accordance with the Prepetition Senior Debenture

Documents, and further including all “Obligations” as described in the Prepetition Senior SPA,

and all interest, fees, costs and other charges allowable under Section 506(b) of the Bankruptcy

Code, the “Prepetition Senior Obligations”). As more fully set forth in the Prepetition Senior
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Debenture Documents, prior to the Petition Date, the Debtor, the Guarantors, and Alex Rodriguez

granted first-priority security interests in and liens on any and all property, of any kind or

description, tangible or intangible, real, personal or mixed, wheresoever located and whether then

existing or thereafter arising or acquired, including, without limitation, the Collateral (as that term

is identified in the Security Agreement, dated December 24, 2018) (collectively, the “Prepetition

Collateral”), to the Prepetition Senior Creditor (collectively, the “Prepetition Senior Liens”) to

secure repayment of the Prepetition Senior Obligations. A chart of the date and amount of the

Prepetition Credit Loan is set forth below:

                           Date Advanced                                        Loan Principal Amount

                         December 24, 2018                                              $1,600,000

                           March 29, 2019                                              $347,463.41

                                May 9, 2019                                              $68,000

                            May 22, 2019                                                 $63,175

                            June 19, 2019                                                $100,000

                                July 3, 2019                                             $34,175

                            July 12, 2019                                                $34,175

                            July 18, 2019                                                $66,700

                           August 19, 2019                                               $17,740

                           August 28, 2019                                               $122,690

                         September 18, 2019                                              $25,000

                         September 30, 2019                                              $68,350

                          October 10, 2019                                               $75,000

                                   Total                                              $2,622,468.41



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                                                 Relief Requested

       9.      By this Motion, the Debtors request entry of an Interim Order in the form attached

as Exhibit A (the “Interim Order”) and a final financing order (the “Final Financing Order”)

(together, the “Interim and Final Financing Orders”) approving the following:

               (1) authorization for the Debtors to: (A) obtain post-petition
                   financing pursuant to a senior secured debtor-in-possession
                   revolving credit facility in an aggregate principal amount of up
                   to $5,000,000 (the “DIP Facility”) with an initial draw of
                   $2,000,000 as may be increased from time to time pursuant to
                   the terms and conditions of the Interim Order and that certain
                   Senior Secured Revolving Credit Facility Agreement,
                   substantially in the form attached hereto as Exhibit B (the
                   “Agreement” and together with the Interim Order, any Final
                   Financing Order and any related agreements, documents,
                   certificates, instruments, exhibits and schedules delivered or
                   executed from time to time in connection therewith, as amended,
                   restated, amended and restated, supplemented or otherwise
                   modified from time to time in accordance with the terms thereof
                   and hereof, collectively, the “DIP Loan Documents”), by and
                   among (x) Zenergy Brands, Inc. as Borrower (the “Borrower”),
                   (y) Zen Technologies, Inc, Zenergy Power & Gas, Inc., NAUP
                   Brokerage, LLC, Zenergy Labs, LLC, and Zenergy &
                   Associates, Inc., as guarantors (collectively, the “Guarantors”),
                   and (z) TCA Special Situations Credit Strategies ICAV, as
                   lender (the “Lender”); and (B) incur the “Obligations” under the
                   Agreement (such Obligations, as provided for and defined in the
                   Agreement, shall be referred to as the “DIP Obligations”);

               (2) authorization for the Debtors to execute and enter into the DIP
                   Loan Documents and to perform their respective obligations
                   thereunder and such other and further acts as may be required in
                   connection with the DIP Loan Documents, including, without
                   limitation, the payment of all principal, interest, fees, costs,
                   expenses, charges, premiums and other amounts payable under
                   the DIP Loan Documents as such amounts become due and
                   payable;

               (3) granting the Lender valid, enforceable, non-avoidable,
                   automatically and fully perfected security interests in and liens
                   on all DIP Collateral (as defined in the Interim Order) including,
                   without limitation, all property constituting “Cash Collateral,”
                   as defined in section 363(a) of the Bankruptcy Code (“Cash
                   Collateral”) to secure the DIP Obligations, which liens and
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                       security interests shall be subject to the rankings and priorities
                       set forth in the Interim and Final Financing Orders and the DIP
                       Loan Documents;

                  (4) authorization for the Debtors’ continued use of Cash Collateral
                      of the Prepetition Senior Creditor (as defined below) solely as
                      provided in the Interim and Final Financing Orders, and the
                      provision of adequate protection to the Prepetition Senior
                      Creditor for any diminution in value of its interests in all
                      “collateral” (the “Prepetition Collateral”) under and as defined
                      in the Prepetition Senior SPA (as defined below), including any
                      Cash Collateral;

                  (5) authorization for the Debtors to borrow amounts under the DIP
                      Facility in accordance with the terms and conditions of the DIP
                      Loan Documents and use the proceeds of the DIP Facility solely
                      in accordance with the budget attached as Exhibit A to the
                      Interim Order (the “Approved Budget”), the Interim and Final
                      Financing Orders and the DIP Loan Documents;

                  (6) modification of the automatic stay imposed under section 362 of
                      the Bankruptcy Code, to the extent necessary, to implement and
                      effectuate the terms and provisions of the DIP Loan Documents
                      and the Interim and Final Financing Orders; and

                  (7) the scheduling of a final hearing (the “Final Hearing”) on the
                      Motion to consider entry of a Final Order, among other things,
                      authorizing the borrowings under the DIP Facility on a final
                      basis and approval of notice procedures with respect thereto.

         10.      In support of this Motion, the Debtors submit the First-Day Declaration of Joshua

Campbell, President and Director of the Debtors.

    Concise Statement Pursuant to Bankruptcy Rule 4001 and the United States Bankruptcy
      Court for the Eastern District of Texas Procedures for Complex Chapter 11 Case4

         11.      The Debtors seek entry of the Interim and Final Financing Orders:

                  a.       DIP Facility: post-petition financing pursuant to a senior
                           secured revolving credit facility agreement in an aggregate


4
  The summaries contained in this Motion are qualified in their entirety by the provisions of the documents referenced,
including the Agreement and the Interim Order. To the extent anything in this Motion is inconsistent with such
documents, the terms of the applicable documents shall control. Capitalized terms used in this summary chart but not
otherwise defined have the meanings ascribed to them in the DIP Loan Documents or the Interim Order, as applicable.

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                        principal amount of up to $5,000,000, with an initial draw of
                        $2,000,000, from the Lender, on the terms and conditions set
                        forth in the Interim Order, any Final Financing Order and the
                        DIP Loan Documents, and to incur the DIP Obligations.

               b.       Adequate Protection: authorizing the Debtors to grant
                        adequate protection to the Prepetition Senior Creditor and
                        Lender in connection with the Prepetition Senior SPA, the
                        Agreement, and the Prepetition Secured Obligations arising
                        thereunder;

               c.       Cash Collateral: authorizing the Debtors to continue to use
                        Cash Collateral subject to the restrictions set forth in the
                        Interim and Final Financing Orders and in accordance with
                        the Approved Budget and the granting of adequate
                        protection to the Prepetition Secured Parties with respect
                        thereto;

               d.       Superpriority Claims and DIP Liens: granting superpriority
                        priming liens on property of the Debtors’ estates as set forth
                        in the Interim Order and the DIP Loan Documents,
                        including, subject to entry of a Final Financing Order,
                        proceeds of any causes of action under chapter 5 of the
                        Bankruptcy Code;

               e.       Automatic Stay: modifying the automatic stay imposed by
                        section 362 of the Bankruptcy Code to the extent necessary
                        to implement and effectuate the terms of the Interim and
                        Final Financing Orders;

               f.       Indemnification: authorizing the Debtors to indemnify and
                        hold harmless the Lender and related parties against any and
                        all liabilities, obligations, losses, damages, penalties,
                        actions, judgments, suits, costs, expenses (including, without
                        limitation, reasonable attorney’s fees), or disbursements;

               g.       Carve-Out

               h.       Professional Fee Reserve; and

               i.       Final Hearing: scheduling the Final Hearing on the Motion.

       12.     The following chart contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant source documents, as



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required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B) and the Complex Case

Procedures.5



    Bankruptcy Code/Local
                                                                    Summary of Material Terms
            Rule

    Borrower                    Zenergy Brands, Inc.
    Bankruptcy Rule
    4001(c)(1)(B)               Interim Order, Introduction , ¶ 2
    LBR 4001-2(a)(14)

    Lender                      TCA Special Situations Credit Strategies ICAV

    Bankruptcy Rule             Interim Order, Introduction , ¶ 3
    4001(c)(1)(B)

    Approved Budget and         The DIP Facility includes standard and customary conditions that require the Debtors to provide
    Variance Reporting          periodic reports to the Lender and its respective professionals regarding the Budget and variances
    Bankruptcy Rule             thereto.
    4001(c)(l)(B)
    LBR 4001- 2(a)(2)           Interim Order, ¶ 15

    DIP Facility                The post-petition financing pursuant to superpriority post-petition loans, advances, and other
                                financial accommodations (the “DIP Facility”), on an interim basis for a period through and
    4001(b)(l)(B)(i),           including the date of the Final Hearing (as defined below), pursuant to the terms and conditions
    4001(c)(1)(B)               of that certain Senior Secured Revolving Credit Facility Agreement (as amended, restated,
                                supplemented, or otherwise modified from time to time, the “Agreement”) by and among (a) the
                                Debtor (b) the Guarantors, and (c) TCA Special Situations Credit Strategies ICAV (the “Lender”),
                                providing for a credit facility up to a principal amount of $5,000,000 with an initial principal
                                advance of $2,000,000, substantially in the form of Exhibit A attached hereto; and

                                Interim Order, Introduction , ¶ 1

    Maturity Date               The earlier of: (i) six (6) months from the Effective Date; (ii) upon prepayment of the Revolving
                                Note by the Borrower (subject to Section 2.1(d)(ii)); or (iii) the occurrence f an Event of Default
    Bankruptcy Rule             and acceleration of the Revolving Note pursuant to this Agreement.
    4001(b)(l)(B)(iii),
    4001(c)(1)(B)               Agreement, Section 1(ssss)
    LBR 4001- 2(a)(10)

    DIP Collateral              (a)        Effective immediately upon the entry of this Interim Order, and subject to the DIP Carve
                                Out, pursuant to Sections 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, and to secure
                                repayment of the DIP Obligations, the Lender is hereby granted, continuing valid, binding,
                                enforceable, non-avoidable and automatically and properly perfected post-petition security
                                interests in and liens (collectively, the “DIP Liens”) on any and all presently owned and hereafter
                                acquired assets and real and personal property of the Debtor, including, without limitation, the
                                following (the “DIP Collateral”):
                                                         1.      all Accounts;


5
  The summaries contained in this Motion are qualified in their entirety by the provisions of the documents referenced.
To the extent anything in this Motion is inconsistent with such documents, the terms of the applicable documents shall
control. Capitalized terms used in this summary chart, but not otherwise defined, have the meanings ascribed to them
in the DIP Loan Documents or the Interim Order, as applicable.

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Bankruptcy Code/Local
                                                           Summary of Material Terms
        Rule

                                               2.      all Goods, including Equipment, Inventory and Fixtures;
                                               3.      all Documents, Instruments and Chattel Paper;
                                               4.      all Letters of Credit and Letter-of-Credit Rights;
                                               5.      all Securities Collateral;
                                               6.      all Investment Property;
                                               7.      all Intellectual Property Collateral;
                                               8.      effective upon entry of the Final Order, all Commercial Tort
                                     Claims;
                                                  9.     all General Intangibles;
                                                  10.    all Deposit Accounts;
                                                  11.    all Supporting Obligations;
                                                  12.    all money, cash or cash equivalents;
                                                  13.    all credit balances, deposits and other property now or hereafter
                                      held or received by or in transit to the Lender or at any other depository or other
                                      institution from or for the account of the Debtor, whether for safekeeping, pledge,
                                      custody, transmission, collection, or otherwise.
                                                  14. all proceeds of leases of real property;
                                                  15. all owned real property;
                                                  16. effective upon the entry of the Final Order, all proceeds from any
                                      claim or cause of action to avoid a transfer of property (or an interest in property) or
                                      an obligation incurred by the Debtor pursuant to any applicable section of the
                                      Bankruptcy Code, including, without limitation, chapter 5 and Section 724(a) of the
                                      Bankruptcy Code (the “Avoidance Actions”);
                                                  17. effective upon the entry of the Final Order, the Debtor’s rights under
                                      Section 506(c) and Section 550 of the Bankruptcy Code and the proceeds thereof;
                                                  18. to the extent not otherwise described above, all receivables and all
                                      present and future claims, rights, interests, assets and properties recovered by or on
                                      behalf of the Debtor;
                                                  19. all books, records, and information relating to any of the foregoing
                                      and/or to the operation of the Debtor’s business, and all rights of access to such books,
                                      records, and information, and all property in which such books, records and
                                      information are stored, recorded and maintained; and
                                                  20. to the extent not otherwise covered by clause (i) through (xix) above,
                                      all other personal property of the Debtor, whether tangible or intangible and all
                                      Proceeds and products of each of the foregoing and all accessions to, substitutions
                                      and replacements for, and rents, profits and products of each of the foregoing, and
                                      any and all proceeds of any insurance, indemnity, warranty or guaranty payable to
                                      the Debtor from time to time with respect to any of the foregoing.
                        (b)        Effective upon the entry of the Interim Order, (i) all DIP Liens shall each be and
                        maintain at all times a security interest priority on a pari passu basis with the Prepetition Senior
                        Liens, (ii) all existing blocked account agreements, deposit account control agreements, securities
                        account control agreements, credit card acknowledgements, credit card agreements, collateral
                        access agreements, landlord agreements, warehouse agreements, bailee agreements, carrier
                        agency agreements, customs broker agency agreements, subordination agreements and freight
                        forwarder agreements constituting Prepetition Senior Debenture Documents, and all existing
                        Uniform Commercial Code filings and all existing filings with the United States Patent and
                        Trademark Office or the United States Copyright Office with respect to the recordation of an
                        interest in the intellectual property of the Debtor, which in each case was filed by the Prepetition
                        Senior Creditor, shall in each case be deemed to be delivered and/or filed in connection with the
                        DIP Facility, shall constitute DIP Credit Documents and shall remain in full force and effect
                        without any further action by the Debtors, the Lender, or any other person, and in each case the
                        Lender shall be deemed to be a party thereto, (iii) any and all references in any such agreements
                        or documents to the “Credit Agreement” shall hereafter be deemed to mean and refer to the
                        Prepetition Credit Agreement and the Agreement, and (iv) any and all references in any such
                        agreements or documents to the “Loan Documents” shall hereafter be deemed to mean and refer
                        to the Prepetition Senior Debenture Documents and the DIP Credit Documents, in each case as
                        amended, modified, supplemented or restated and in effect from time to time. Except as set forth
                        in this Interim Order, nothing in this Interim Order shall be deemed to impair or otherwise modify


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Bankruptcy Code/Local
                                                              Summary of Material Terms
        Rule

                            the rights of the Prepetition Senior Creditor under any such agreements or documents as in effect
                            prior to the date hereof.

                            Interim Order, ¶ 6

Adequate Protection                     Adequate Protection. The Debtor shall pay to the Prepetition Senior Creditor
Bankruptcy Rules            $90,000 upon the entry of the Final Order and as otherwise set forth herein. The Prepetition
4001(b)(l)(B)(iv),          Senior Creditor shall receive (i) subject to the priorities set forth in paragraphs 12 and 13 below,
4001(c)(1)(B)(ii)           the Adequate Protection Liens (as defined herein) to secure the Prepetition Senior Obligations and
LBR 4001-2(a)(4)            Adequate Protection Superpriority Claims (as defined herein) with respect to the Prepetition
                            Senior Obligations, and (ii) additional adequate protection in the form of (A) payment of the
                            Prepetition Senior Obligations from the proceeds of DIP Collateral as set forth in paragraph 18(a)
                            below and (B) payments of interest (which shall be payable at the highest default rate under the
                            Prepetition Senior Debenture Documents), principal amortization, fees, costs, expenses (including
                            attorneys’ fees and expenses), indemnities and other amounts with respect to the Prepetition
                            Senior Obligations in accordance with the Prepetition Senior Debenture Documents (collectively,
                            the “Prepetition Senior Creditor Adequate Protection Payments”). For the avoidance of doubt,
                            the Adequate Protection Liens and the Adequate Protection Superpriority Claims each shall be
                            junior in all respects to the DIP Liens and the DIP Carve Out, and the Adequate Protection
                            Superpriority Claims are junior in all respects to the DIP Superpriority Claim (as defined herein).

                            Interim Order, ¶¶ G, 12, 13

Waiver/Modification of      The automatic stay imposed under Section 362(a) of the Bankruptcy Code is hereby modified as
the Automatic Stay          necessary to effectuate all of the terms and provisions of this Interim Order, including, without
Bankruptcy Rule             limitation, to: (a) permit the Debtor to grant the DIP Liens, the Adequate Protection Liens, the
4001(c)(1)(B)(iv)           DIP Superpriority Claim, and the Adequate Protection Superpriority Claims; and (b) authorize the
                            Debtor to pay, and the Lender and Prepetition Senior Creditor to retain and apply, payments made
                            in accordance with the terms of this Interim Order.

                            Interim Order, ¶ 16

Carve Out Bankruptcy        DIP Carve Out. As used in this Order, the “DIP Carve Out” means, means, collectively, the
Rule 4001(c)(1)(B)          sum of: (i) all fees required to be paid to the Clerk of the Bankruptcy Court and to the Office
LBR 4001- 2(a)(5)           of the United States Trustee pursuant to 28 U.S.C. §1930(a) and Section 3717 of title 31 of
                            the United States Code; (ii) the aggregate amount of all fees and expenses of the claims/noticing
                            agent incurred or accrued; and (iii) the aggregate amount of a c c r u e d o r i n c u r r e d a n d
                            unpaid fees and expenses of the Debtor’s professionals retained by final order of the Court
                            (which order has not been reversed, vacated or stayed unless such stay is no longer effective)
                            under Sections 327(a) or 1103(a) of the Bankruptcy Code (the “Case Professionals”), to
                            the extent such fees and expenses are allowed and payable pursuant to an order of the Court
                            (which order has not been reversed, vacated or stayed) (“Allowed Professional Fees”) but subject
                            to the aggregate amount(s) not to exceed $125,000 plus the amount of any unused pre-bankruptcy
                            retainer. Notwithstanding anything in this Order to the contrary, the DIP Carve Out shall be senior
                            to all claims and liens, including DIP Obligations, the DIP Lien(s), and the DIP Superpriority
                            Claim, as well as any adequate-protection liens and claims described in this Order.

                            Interim Order, ¶ 30

Professional Fee Escrow     The funding of the DIP Carve Out shall be added to and made a part of the DIP Obligations,
Account                     paid into the Professional Fee Escrow Account, and secured by the DIP Collateral and otherwise
                            entitled to the protections granted under this Order, the DIP Loan Documents, the
                            Bankruptcy Code and applicable law. The Debtor shall establish segregated accounts for the
                            purpose of periodically depositing funds on account of (a) U.S. Trustee Fees and court-
                            administration fees that will accrue during the pendency of the Case and (b) the amounts identified
                            in the Budget for the beneficiaries of the DIP Carve Out identified in the Budget, pending approval



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                            by the Court to disburse such funds to such beneficiaries, on the payment dates identified in the
                            Budget.

                            Interim Order, ¶ 30

Interest Rates              Interest Rate shall mean a fixed rate of interest equal to Fourteen percent (14%) per annum,
Bankruptcy Rule             calculated on the actual number of days elapsed over a 360-day year.
4001(c)(1)(B)
LBR 4001- 2(a)(3)           Shall mean a per annum rate of interest equal to the highest non-usurious rate permitted by
                            applicable law, and if there is no such rate under applicable law, then twenty-four percent (24%)
                            per annum.

                            Agreement, Section 1(ee)

Use of Cash Collateral      Use of Proceeds of the DIP Facility. As a condition to entry into the Agreement, the extensions
Bankruptcy Rule             of credit under the DIP Facility and the authorization to use Cash Collateral, the Lender requires,
4001(b)(l)(B)(ii)           and the Debtor agrees, that proceeds of the DIP Facility shall be used in a manner consistent with
LBR 4001- 2(a)(2)           the terms and conditions of the DIP Loan Documents and in accordance with the budget (a copy
                            of which is attached as Exhibit A to the Interim Order, as the same may be modified from time to
                            time consistent with the terms of the DIP Loan Documents, and subject to such variances as may
                            be permitted thereby, the “Budget”), solely for (i) post-petition operating expenses and other
                            working capital, including, but not limited to, funding the amounts immediately required to enter
                            into certain Master Energy Service Agreements (“MESA”) absent which the Debtor would not be
                            able to continue to operate, (ii) certain transaction fees and expenses, (iii) permitted payment of
                            costs of administration of the Case, including professional fees, (iv) Prepetition Senior Creditor
                            Adequate Protection Payments, and (v) as otherwise permitted under the DIP Loan Documents,
                            as applicable.

                            Interim Order, ¶ F(v)

                            Limitations on the use of cash collateral are set forth in paragraph 31 of the Interim Order.

                            Interim Order, ¶ 31

Stipulations to             After consultation with its attorneys and financial advisors, and without prejudice to the rights of
Prepetition Loans and       parties in interest as set forth in paragraph 33 herein, and subject to entry of the Final Order, the
Claims                      Debtor admit, stipulate, acknowledge and agree that:
Bankruptcy Rule
4001(c)(1)(B)(iii)                   Prepetition Senior Debenture Documents. As of the Petition
LBR 4001- 2(a)(4)                     Date, the Debtor has outstanding senior secured debt evidenced
                                      by (i) that certain Securities Purchase Agreement, dated
                                      December 24, 2018 (the “Prepetition Senior SPA”), (ii) that
                                      certain Senior Secured, Convertible, Redeemable Debenture in
                                      the principal amount of $1,750,000, dated December 24, 2018,
                                      (iii) that certain Senior Secured, Convertible, Redeemable
                                      Debenture (Fee Debenture) in the principal amount of $16,000,
                                      maturing December 24, 2020, dated December 24, 2018, (iv) that
                                      certain Senior Secured, Convertible, Redeemable Debenture
                                      (Fee Debenture) in the principal amount of $16,000, maturing
                                      June 24, 2021, dated December 24, 2018, (v) that certain
                                      Promissory Note, dated October 10, 2019 (together, as amended,
                                      modified and supplemented from time to time, the “Prepetition
                                      Senior Debentures” and together with all related documents,
                                      guaranties and agreements, the “Prepetition Senior Debenture
                                      Documents”), by and among (a) the Debtor, (b) the Guarantors,



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                                  (c) Alex Rodriguez, and (d) TCA Global Credit Master Fund,
                                  L.P. (the “Prepetition Senior Creditor”).

                                 Prepetition Senior Obligations. As of the Petition Date, the
                                  aggregate outstanding principal amount owed by the Debtor
                                  under the Prepetition Senior Debenture Documents was not less
                                  than $2,622,468.41 (the “Prepetition Credit Loan”) (together
                                  with any interest, fees (including, without limitation, any early
                                  termination and prepayment fees), costs and other charges or
                                  amounts paid, incurred or accrued prior to the Petition Date in
                                  accordance with the Prepetition Senior Debenture Documents,
                                  and further including all “Obligations” as described in the
                                  Prepetition Senior SPA, and all interest, fees, costs and other
                                  charges allowable under Section 506(b) of the Bankruptcy Code,
                                  the “Prepetition Senior Obligations”). As more fully set forth in
                                  the Prepetition Senior Debenture Documents, prior to the
                                  Petition Date, the Debtor, the Guarantors and Alex Rodriguez
                                  granted first-priority security interests in and liens on any and all
                                  property, of any kind or description, tangible or intangible, real,
                                  personal or mixed, wheresoever located and whether then
                                  existing or thereafter arising or acquired, including, without
                                  limitation, the Collateral (as that term is identified in the Security
                                  Agreement, dated December 24, 2018) (collectively, the
                                  “Prepetition Collateral”), to the Prepetition Senior Creditor
                                  (collectively, the “Prepetition Senior Liens”) to secure
                                  repayment of the Prepetition Senior Obligations.

                                 Validity, Perfection and Priority of Prepetition Liens and
                                  Obligations. The Debtor (without limiting the rights of other
                                  parties in interest under paragraphs 33 and 34 of this Interim
                                  Order), and the Prepetition Senior Creditor acknowledges and
                                  agrees that: (a) as of the Petition Date, the Prepetition Senior
                                  Liens on the Prepetition Collateral are valid, binding,
                                  enforceable, non-avoidable, and properly perfected (to the extent
                                  any such permitted liens were valid, binding, enforceable,
                                  properly perfected, non-avoidable and senior in priority to the
                                  Prepetition Senior Liens as of the Petition Date, the “Prepetition
                                  Permitted Liens”); (b) as of the Petition Date, the Prepetition
                                  Senior Liens have priority over any and all other liens, if any, on
                                  the Prepetition Collateral, subject only to certain other liens
                                  otherwise permitted by the Prepetition Senior Debenture
                                  Documents; (c) the Prepetition Senior Obligations constitute
                                  legal, valid, binding, and non-avoidable obligations of the
                                  Debtor; (d) no offsets, challenges, objections, defenses, claims or
                                  counterclaims of any kind or nature to any of the Prepetition
                                  Senior Liens or the Prepetition Senior Obligations exist, and no
                                  portion of the Prepetition Senior Liens or the Prepetition Senior
                                  Obligations is subject to any challenge or defense including,
                                  without limitation, avoidance, disallowance, disgorgement,
                                  recharacterization, or subordination (whether equitable or
                                  otherwise) pursuant to the Bankruptcy Code or applicable non-
                                  bankruptcy law; (e) the Debtor and its estate have no claims,
                                  objections, challenges, causes of actions, and/or choses in action,
                                  including without limitation, avoidance claims under Chapter 5
                                  of the Bankruptcy Code, against the Prepetition Senior Creditor
                                  or any of its respective affiliates, agents, attorneys, advisors,
                                  professionals, officers, directors or employees arising out of,
                                  based upon or related to the Prepetition Senior Debenture

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                                     Documents; (f) as of the Petition Date, the value of the
                                     Prepetition Collateral securing the Prepetition Senior Obligations
                                     exceeded the amount of those obligations, and accordingly the
                                     Prepetition Senior Obligations are allowed secured claims within
                                     the meaning of Section 506 of the Bankruptcy Code, in an
                                     aggregate principal amount of not less than $2,622,468.41,
                                     together with accrued and unpaid and hereafter accruing interest,
                                     fees (including, without limitation, attorneys’ fees and related
                                     expenses), costs and other charges.

                                    Cash Collateral. The Debtor acknowledges and stipulates that all
                                     of the Debtor’s cash, including the cash in its deposit accounts,
                                     wherever located, whether as original collateral or proceeds of
                                     other Prepetition Collateral, constitute Cash Collateral and is
                                     Prepetition Collateral of the Prepetition Senior Creditor.

                                    Default by the Debtor. The Debtor acknowledges and stipulates
                                     that the Debtor is in default under each of the Prepetition Senior
                                     Debenture Documents.

                           Interim Order, ¶ E

Automatic Effectiveness    Effective upon the entry of the Interim Order, (i) all DIP Liens shall each be and maintain at all
of Liens Bankruptcy Rule   times a security interest priority on a pari passu basis with the Prepetition Senior Liens, (ii) all
4001(c)(1)(B)(vii)         existing blocked account agreements, deposit account control agreements, securities account
                           control agreements, credit card acknowledgements, credit card agreements, collateral access
                           agreements, landlord agreements, warehouse agreements, bailee agreements, carrier agency
                           agreements, customs broker agency agreements, subordination agreements and freight forwarder
                           agreements constituting Prepetition Senior Debenture Documents, and all existing Uniform
                           Commercial Code filings and all existing filings with the United States Patent and Trademark
                           Office or the United States Copyright Office with respect to the recordation of an interest in the
                           intellectual property of the Debtor, which in each case was filed by the Prepetition Senior Creditor,
                           shall in each case be deemed to be delivered and/or filed in connection with the DIP Facility, shall
                           constitute DIP Credit Documents and shall remain in full force and effect without any further
                           action by the Debtors, the Lender, or any other person, and in each case the Lender shall be
                           deemed to be a party thereto, (iii) any and all references in any such agreements or documents to
                           the “Credit Agreement” shall hereafter be deemed to mean and refer to the Prepetition Credit
                           Agreement and the Agreement, and (iv) any and all references in any such agreements or
                           documents to the “Loan Documents” shall hereafter be deemed to mean and refer to the
                           Prepetition Senior Debenture Documents and the DIP Credit Documents, in each case as
                           amended, modified, supplemented or restated and in effect from time to time. Except as set forth
                           in this Interim Order, nothing in this Interim Order shall be deemed to impair or otherwise modify
                           the rights of the Prepetition Senior Creditor under any such agreements or documents as in effect
                           prior to the date hereof.

                           Interim Order, ¶ 6(b)

Payment of DIP             Adequate Protection Payments. The Prepetition Senior Creditor shall receive adequate protection
Premiums and Expenses      in the form of the Prepetition Senior Creditor Adequate Protection Payments.
Bankruptcy Rule
4001(c)(1)(B)              In addition to the amounts identified in the Budget, the Debtors shall pay the postpetition
LBR 4001- 2(a)(3), (16)    reasonable and documented fees, costs and expenses incurred by the Prepetition Senior Creditor
                           and the reasonable and documented fees, costs and expenses of its respective legal advisors
                           (specifically: (i) Shraiberg, Landau & Page P.A. and (ii) Lucosky Brookman (collectively, the
                           “Secured Creditor Professionals”)). The Prepetition Senior Creditor agrees that, to the extent it is
                           later determined to be undersecured, any payments made under this paragraph 12(c) shall be
                           recharacterized as payments on the principal amount of the prepetition loans.


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                           Interim Order, ¶¶ 12(a), 12(d)

Approved Budget            The Initial Budget attached as Exhibit A to the proposed Interim Order.
Bankruptcy Rule 4001
(c)(1)(B)                  Interim Order, ¶¶ F(v), 10
LBR 4001- 2(a)(2)
Budget Covenant            The Budget and any modification to, or amendment or update of, the Budget shall be in form and
Bankruptcy Rule            substance reasonably acceptable to the Lender and approved by the Lender, in its Permitted
4001(c)(l)(B)              Discretion. The Debtor shall comply with and update the Budget from time to time in accordance
LBR 4001- 2(a)(2)          with the DIP Loan Documents (provided that any update shall be in form and substance
                           reasonably acceptable to the Lender and approved by the Lender, in its Permitted Discretion). On
                           or before Wednesday of each week, the Debtor shall deliver to the Lender an Approved Budget
                           Variance Report (with delivery of the same to the United States Trustee and the Statutory
                           Committee, if any, each week after delivery to the Lender). During the tenth (10th) week of the
                           initial Budget, the Debtor shall submit a budget for the next successive thirteen-week period to
                           the Lender, which budget shall be in form and substance reasonably acceptable to the Lender and
                           approved by the Lender, in its Permitted Discretion. Approved Budget Variance means that actual
                           amounts spent for each tested period may not vary from the applicable Budget period (including
                           any amounts deemed “rolled over” from a previous week) by more 10% on a cumulative basis.

                           Interim Order, ¶ 15

Priority of DIP Liens      Lender Pari Passu Claim. Upon entry of this Interim Order, the Lender is hereby granted,
Bankruptcy Rule            pursuant to Section 364(c)(1) of the Bankruptcy Code, an allowed superpriority administrative
4001(c)(l)(B)(i)           expense claim in the Case and any Successor Case (collectively, the “DIP Superpriority Claim”)
LBR 4001- 2(a)(4)          for all DIP Obligations. The DIP Superpriority Claim shall (i) be subject and subordinate to the
                           DIP Carve Out, (ii) be pari passu with the Prepetition Senior Liens, and (iii) otherwise have
                           priority over any and all administrative expenses of the kinds specified in or ordered pursuant to
                           Sections 503(b) and 507(b) of the Bankruptcy Code, as provided under Section 364(c)(1) of the
                           Bankruptcy Code.

                           Priority of DIP Superpriority Claim. Except Avoidance Actions, the DIP Superpriority Claim
                           shall be payable from and have recourse to all pre- and post-petition property of the Debtor and
                           all proceeds thereof, subject only to the payment in full in cash of the DIP Obligations. Upon
                           entry of the Final Order, the DIP Superpriority Claim shall be payable from or have recourse to
                           Avoidance Actions.

                           The Prepetition Senior Liens and the DIP Liens shall be held by the Prepetition Senior Creditor
                           and the Lender on a pari passu and pro-rata basis between the Prepetition Senior Creditor and the
                           Lender, in proportion to such creditor’s outstanding financing or principal amount, as applicable,
                           owing under Prepetition Senior Debenture Documents and the DIP Loan Documents,
                           notwithstanding anything to the contrary contained therein and irrespective of: (i) dates, times or
                           order of when a creditor made its loan or financing available; (ii) the time, order or method of
                           attachment or perfection of the security interests created in favor of either creditor; (iii) the time
                           or order of filing or recording of financing statements or other documents filed or recorded to
                           perfect security interests in any collateral; (iv) anything contained in any filing or agreement to
                           which any creditor now or hereafter may be a party; (v) the rules for determining perfection or
                           priority under the Uniform Commercial Code or any other law governing the relative priorities of
                           secured creditors; and (vi) the time or order of obtaining control or possession of any collateral.

                           Superpriority Claim of Prepetition Senior Creditor. Subject and subordinate to the DIP Carve
                           Out, as further adequate protection of the interests of the Prepetition Senior Creditor with respect
                           to the Prepetition Senior Obligations, the Prepetition Senior Creditor is hereby granted an allowed
                           administrative claim against the Debtor’s estate under Sections 503 and 507(b) of the Bankruptcy
                           Code (the “Adequate Protection Superpriority Claims”) to the extent that the Adequate Protection
                           Liens do not adequately protect against any diminution in the value in the aggregate of the
                           Prepetition Senior Creditor’s interests in the Prepetition Collateral.

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                           Priority of Adequate Protection Superpriority Claims. The Adequate Protection Superpriority
                           Claim granted to the Prepetition Senior Creditor shall be junior to the DIP Carve Out, the
                           Prepetition Permitted Liens, the DIP Liens, the DIP Superpriority Claim and the Adequate
                           Protection Liens and shall otherwise have priority over administrative expenses of the kinds
                           specified in or ordered pursuant to Sections 503(b) and 507(b) of the Bankruptcy Code.

                           Interim Order, ¶¶ 8, 13

Event of Default            Borrower, without notice or demand of any kind (except as specifically provided in this
Bankruptcy Rule            Agreement), shall be in default under this Agreement upon the occurrence of any of the following
4001(c)(l)(B)              events (each an “Event of Default”) (the Lender agrees that to the extent it becomes aware of any
LBR 4001- 2(a)(10), (11)   Event of Default, it shall provide notice thereof to the Borrower, however the giving of such
                           notice, except as specifically provided in this Agreement, shall not be a condition to the
                           occurrence of such Event of Default):

                           12.1       Nonpayment of Obligations. Any amount due and owing on the Revolving Note or
                           any of the Obligations, whether by its terms or as otherwise provided herein, is not paid on the
                           date that such amount is due.
                           12.2       Misrepresentation. Any material written warranty, representation, certificate or
                           statement of the Credit Parties in this Agreement, the Loan Documents or any other agreement
                           with Lender, or any report or certification provided to the Lender for it to rely upon, shall be false
                           or misleading in any material respect when made or deemed to be made.
                           12.3       Nonperformance. Any failure to perform or default in the performance of any
                           covenant, condition or agreement contained in this Agreement or any Financing Order (not
                           otherwise addressed in this Article 12), which failure to perform or default in performance
                           continues for a period of ten (10) days after any Credit Party receives written notice from Lender
                           of such failure to perform or default in performance (provided that if the failure to perform or
                           default in performance is not capable of being cured, in Lender’s reasonable discretion, then the
                           cure period set forth herein shall not be applicable and the failure or default shall be an immediate
                           Event of Default hereunder).
                           12.4       Default under Loan Documents. Any failure to perform or default in the performance
                           by any Credit Party that continues after applicable grace and cure periods under any covenant,
                           condition or agreement contained in any of the other Loan Documents or any other agreement
                           with Lender, all of which covenants, conditions and agreements are hereby incorporated in this
                           Agreement by express reference.
                           12.5       Default under Other Obligations. Any default by the Borrower in the payment of
                           principal, interest or any other sum for any other obligation beyond any period of grace provided
                           with respect thereto or in the performance of any, other term, condition or covenant contained in
                           any agreement (including any capital or operating lease or any agreement in connection with the
                           deferred purchase price of property), the effect of which default is to cause or permit the holder
                           of such obligation (or the other party to such other agreement) to cause such obligation or
                           agreement to become due prior to its stated maturity, to terminate such other agreement, or to
                           otherwise modify or adversely affect such obligation or agreement in a manner that could have a
                           Material Adverse Effect on any Credit Party.
                           12.6       Assignment for Creditors. Any Credit Party makes an assignment for the benefit of
                           creditors, fails to pay, or admits in writing its inability to pay its debts as they mature; or if a
                           trustee of any substantial part of the assets of the Credit Parties is applied for or appointed, and in
                           the case of such trustee being appointed in a Proceeding brought against any of the Credit Parties,
                           the Credit Parties, by any action or failure to act indicates its approval of, consent to, or
                           acquiescence in such appointment and such appointment is not vacated, stayed on appeal or
                           otherwise shall not have ceased to continue in effect within sixty (60) days after the date of such
                           appointment.
                           12.7       Bankruptcy. Any Proceeding involving any of the Credit Parties other than the Case,
                           is commenced by or against any of the Credit Parties under any bankruptcy, reorganization,
                           arrangement, insolvency, readjustment of debt, dissolution or liquidation law or statute of the
                           federal government or any state government, and in the case of any such Proceeding being
                           instituted against any of the Credit Parties: (i) any of the Credit Parties, by any action or failure to
                           act, indicates its approval of, consent to or acquiescence therein; or (ii) an order shall be entered
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                        approving the petition in such Proceedings and such order is not vacated, stayed on appeal or
                        otherwise shall not have ceased to continue in effect within sixty (60) days after the entry thereof.
                        12.8       Motions Effecting Financing Order/Loan Documents. Borrower or any creditor or
                        committee of creditors (except following Lender's prior written request or with Lender's express
                        prior written consent, and no such consent shall be implied from any other action, inaction, or
                        acquiescence of Lender) shall file a motion with the Bankruptcy Court or any other court with
                        jurisdiction in the matter seeking an order, or an order is otherwise entered, modifying, reversing,
                        revoking, staying, rescinding, vacating, or amending the Financing Orders, or any of the other
                        Loan Documents.
                        12.9       Appointment of Trustee, Examiner or Other Fiduciary. The appointment in the Case
                        of a trustee, examiner, or any other fiduciary for Borrower or any property of the Borrower.
                        12.10      Order Dismissing or Converting the Case. The entry of an order dismissing the Case
                        or converting the Case to a case under Chapter 7 of the Bankruptcy Code.
                        12.11      Certain Bankruptcy Court Orders/Pleadings.
                        (a)        Borrower shall file any motion seeking Bankruptcy Court approval of, or any other
                        person shall obtain Bankruptcy Court approval of, a bidding procedures order, sale order, or
                        similar such order, or an order confirming a plan other than an plan acceptable to the Lender is
                        entered by the Bankruptcy Court, unless Lender has expressly joined in or consented to such plan,
                        such order, or such motion in writing.
                        (b)        Borrower or any creditor or committee of creditors (except following Lender's prior
                        written request or with Lender's express prior written consent, and no such consent shall be
                        implied from any other action, inaction, or acquiescence of Lender) shall file a motion with the
                        Bankruptcy Court or any other court with jurisdiction in the matter seeking an order, or an order
                        is otherwise entered, modifying, reversing, revoking, staying, rescinding, vacating, or amending
                        the Financing Orders, or any of the other Loan Documents.
                        (c)        The filing of any motion or other request with the Bankruptcy Court seeking authority
                        to use any cash proceeds of any of the Collateral in a manner inconsistent with the Financing
                        Orders or any other Loan Document.
                        (d)        Borrower shall file any motion or application, or the Bankruptcy Court allows the
                        motion or application of any other Person, which seeks approval for or allowance of (i) the
                        authority to use any cash in Borrrower’s possession, or (ii) any claim, Lien, or security interest
                        ranking equal or senior in priority to the claims, Liens and security interests granted to Lender
                        under the Financing Orders or the other Loan Documents or any such equal or prior claim, Lien,
                        or security interest shall be established in any manner, except, in any case, as expressly permitted
                        under the Financing Orders.
                        (e)        Borrower's obtaining any other financing under any section of the Bankruptcy Code
                        with respect to any of the Collateral secured by a Lien which is senior to any Lien or Superpriority
                        Claim held by or granted to Lender, unless the proceeds of any such financing are to be
                        immediately applied upon closing to the full payment and performance of all of the Obligations
                        hereunder and under any Loan Document.
                        (f)        Borrower, any committee of creditors, or any party in interest shall file a pleading in the
                        Bankruptcy Court or any court of competent jurisdiction (i) challenging the validity, extent,
                        perfection, enforceability or priority of any of (or any part of) the Indebtedness or the Liens or
                        Superpriority Claim of Lender securing the Indebtedness, (ii) challenging the validity or
                        enforceability of any Loan Document, (iii) asserting any claims against Lender, or (iv) seeking to
                        surcharge the Collateral securing the Indebtedness, or an order is otherwise entered granting any
                        such relief.
                        (g)        The entry of an order which provides relief from the automatic stay otherwise imposed
                        pursuant to Section 362 of the Bankruptcy Code, which order permits any creditor, other than
                        Lender, to realize upon, or to exercise any right or remedy with respect to, any asset of Borrower
                        other than the Borrower's real property.
                        12.12      Cessation of Operations. Borrower's cessation of all or any material part of its
                        remaining business operations.
                        12.13      Failure to Perform under Financing Orders. Borrower shall fail to comply or shall
                        default in the performance of any term of the Financing Orders or any other "Event of Default"
                        under and as defined in either of the Financing Orders shall occur.
                        12.14      Final DIP Order; Other Financing Orders. The Bankruptcy Court shall not have
                        entered the Final DIP Order by [dated] (or such other date as Lender agrees to in writing), or any


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                        Financing Order shall cease to be in full force and effect from and after the date of entry thereof
                        by the Bankruptcy Court.
                        12.15       Judgments. The entry of any judgment, decree, levy, attachment, garnishment or other
                        process, or the filing of any Lien against the property of any of the Credit Parties, unless such
                        judgment or other process shall have been, within sixty (60) days from the entry thereof: (i)
                        bonded over to the satisfaction of Lender and appealed; (ii) vacated; or (iii) discharged.
                        12.16       Material Adverse Effect. A Material Adverse Effect shall occur.
                        12.17       Change in Control. Except as permitted under this Agreement, any Change in Control
                        shall occur; provided, however, a Change in Control shall not constitute an Event of Default if:
                        (i) it arises out of an event or circumstance beyond the reasonable control of the Credit Parties
                        (for example, but not by way of limitation, a transfer of ownership interest due to death or
                        incapacity); and (ii) within sixty (60) days after such Change in Control, the Credit Parties provide
                        Lender with information concerning the identity and qualifications of the individual or individuals
                        who will be in Control, and such individual or individuals shall be acceptable to Lender, in
                        Lender’s sole discretion.
                        12.18       Collateral Impairment. The entry of any judgment, decree, levy, attachment,
                        garnishment or other process, or the filing of any Lien against, any of the Collateral or any
                        collateral under a separate security agreement securing any of the Obligations, and such judgment
                        or other process shall not have been, within thirty (30) days from the entry thereof: (i) bonded
                        over to the satisfaction of Lender and appealed; (ii) vacated; or (iii) discharged, or the loss, theft,
                        destruction, seizure or forfeiture, or the occurrence of any material deterioration or impairment of
                        any of the Collateral or any of the Collateral under any security agreement securing any of the
                        Obligations, or any material decline or depreciation in the value or market price thereof (whether
                        actual or reasonably anticipated), which causes the Collateral, in the sole opinion of Lender acting
                        in good faith, to become unsatisfactory as to value or character, or which causes Lender to
                        reasonably believe that it is insecure and that the likelihood for repayment of the Obligations is or
                        will soon be impaired, time being of the essence. The cause of such deterioration, impairment,
                        decline or depreciation shall include, but is not limited to, the failure by the Credit Parties to do
                        any act deemed reasonably necessary by Lender to preserve and maintain the value and
                        collectability of the Collateral.
                        12.19       Adverse Change in Financial Condition. The determination in good faith by Lender
                        that a material adverse change has occurred in the financial condition or operations of any of the
                        Credit Parties, or the Collateral, which change could have a Material Adverse Effect, or otherwise
                        adversely affect the prospect for Lender to fully and punctually realize the full benefits conferred
                        on Lender by this Agreement, or the prospect of repayment of all Obligations.
                        12.20       Adverse Change in Value of Collateral. The determination in good faith by Lender
                        that the security for the Obligations is or has become inadequate.
                        12.21       Prospect of Payment or Performance. The determination in good faith by Lender
                        that the prospect for payment or performance of any of the Obligations is impaired for any reason.
                        12.22       Segregated Account. The determination in good faith by the Lender that there has been
                        a failure to perform or default in the performance by a Credit Party of Section 2.1(e) of this
                        Agreement.
                        12.23       Adequate Protection to other Creditors. If any creditor of Borrower receives any
                        adequate protection payment which is not fully acceptable to Lender in its reasonable discretion
                        or any Lien is granted as adequate protection other than as set forth in any Financing Order.
                        12.24       Consolidation Order. The entry of an order for the substantive consolidation of
                        Borrower or the Estate with any other Person or Entity, without the written consent of Lender
                        which shall not be unreasonably withheld.
                        12.25       Financing Order Deadlines. Any deadline contained in any Financing Order is not
                        met.
                        12.26       Purchase Agreements. Borrower shall file with the Bankruptcy Court or enter into any
                        asset purchase agreement with any third party unless such asset purchase agreement has been
                        approved by Lender in its discretion.
                        12.27       Use of Proceeds in Conformity with Budget. Borrower shall fail to utilize the
                        proceeds of the Loan or use cash in Borrrower’s possession in strict conformity with the Budget.
                        12.28       Budget Variations. During any month covered by a Budget, their shall have occurred
                        an Unpermitted Variance provided, however, Borrower may carry over from the prior month to
                        the next two succeeding months (but not to any subsequent months) any unused portion of a
                        budgeted line item expense in the prior month, and an actual line item expense in any month shall
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    Bankruptcy Code/Local
                                                                  Summary of Material Terms
            Rule

                                be first applied to any unused portion of such line item budgeted expense from the least recent
                                prior month that is carried over to such month.
                                12.29      “Event of Default” under the Transaction Documents. Any “Event of Default” for
                                purposes of the Transaction Documents (as defined in the Purchase Agreement).

                                Agreement, Section 12

    Indemnification             Effective upon entry of the Final Order, the Debtor shall indemnify and hold harmless the Lender,
    Bankruptcy Rule             and its respective shareholders, members, directors, agents, officers, subsidiaries and affiliates,
    4001(c)(1)(B)(ix)           successors and assigns, attorneys and professional advisors, in their respective capacities as such,
                                from and against any and all damages, losses, settlement payments, obligations, liabilities, claims,
                                actions or causes of action, whether groundless or otherwise, and reasonable costs and expenses
                                incurred, suffered, sustained or required to be paid by an indemnified party of every nature and
                                character arising out of or related to the DIP Loan Documents, or the DIP Facility or the
                                transactions contemplated thereby and by this Interim Order, whether such indemnified party is
                                party thereto, as provided in and pursuant to the terms of the DIP Loan Documents and as further
                                described therein and herein, or in connection with this case, any plan, or any action or inaction
                                by the Debtor; provided, that such indemnity shall not, as to any indemnified party, be available
                                to the extent that such losses, claims, damages, liabilities or related expenses are determined by a
                                court of competent jurisdiction by final and non-appealable judgment to have resulted from the
                                gross negligence or willful misconduct of such indemnified party. The indemnity includes
                                indemnification for the Lender’s exercise of discretionary rights granted under the DIP Facility.
                                In all such litigation, or the preparation therefor, the Lender shall be entitled to select its own
                                counsel and, in addition to the foregoing indemnity, the Debtor agrees to promptly pay the
                                reasonable fees and expenses of such counsel.

                                Interim Order, ¶ 27

    Releases Upon Paid in       N/A
    Full

    Bankruptcy Rule
    4001(c)(1)(B)
    LBR 4001-2(a)(9)




                                            Prepetition Capital Structure6

            13.         As of the Petition Date, the Debtors are obligors (either as borrower or guarantor)

on a principal amount of prepetition funded indebtedness totaling approximately $7,257,362 as

summarized below:




6
 The following summary is qualified in its entirety by reference to the operative documents, agreements, schedules,
and exhibits. In the event of inconsistency between this summary (including the defined terms therein), the source
documents shall control and govern.

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               Debt Instrument (as defined herein)                              Outstanding Principal
                                                                                      Amount

       Secured Debt

       TCA Senior Security Facility Convertible Notes                        $2,622,468

       Total Secured Debt                                                    $2,622,468



       Unsecured Debt

       TCA Investment Banking Services Agreement                             $3,000,0007

       Byron Young                                                           $260,000

       Mick Zeigler                                                          $400,000

       Ashley Steffan                                                        $100,000

       Collision Capital                                                     $50,000

       Bellridge Capital                                                     $269,500

       Actus                                                                 $82,432

       MorningView                                                           $39,983

       2 Plus 2                                                              $37,233

       Vista                                                                 $96,520

       EMA Financial                                                         $78,401

       RB Capital                                                            $1,092,500

       Powerup Lending                                                       $73,325

       Greentree                                                             $75,000

       K Club – Sraffan, Kildare, Ireland                                    $25,000




7
  TCA Capital International Group or TCA Global asserts a $3.0 mm claim against the Debtors under that certain
Investment Banking Services Agreement dated August 22, 2018. The Debtors dispute that any amount is owed to
TCA Global under that certain Investment Banking Services Agreement.

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               Debt Instrument (as defined herein)                              Outstanding Principal
                                                                                      Amount

      Partner and Friends                                                    $40,000

      Free & Free                                                            $600,000

      TCN Holdings, LLC                                                      $1,150,000

      NAUP Note                                                              $165,000

      Trade Vendor Debt                                                      $920,853

      Total Unsecured Debt                                                   $5,555,747



      Total Funded Debt                                                      $8,178,215



I.     The TCA Security Agreement dated December 24, 2018

       14.      Zenergy Brands is the primary obligor under that certain Security Agreement by

and among Zenergy Brands, Inc. and in favor of the Prepetition Senior Creditor dated December

24, 2018 (The “TCA Security Agreement”). Zen Technologies, ZPGI, NAUP, Zenergy Labs,

Enertrade, and ZAI are guarantors under the TCA Security Agreement and documents related

thereto. The TCA Security Agreement was entered into to secure that certain Securities Purchase

Agreement dated as of December 24, 2018 between Zenergy Brands and the Prepetition Senior

Creditor (the “Securities Purchase Agreement”) for the sale of up to $10,000,000 senior secured,

redeemable debenture. The Debtors issued debentures in the principal amount of $1,600,000

II.    TCA Promissory Notes

       15.      Following the Debtors entry into the TCA Security Agreement, the Debtors

determined that they required additional capital to continue to run their business. The Debtors

entered into a series of promissory notes and security agreements related thereto as set forth in the

chart above.
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III.     The September TCA Senior Secured Revolving Credit Facility

         16.      Zenergy Brands is the primary obligor under that certain Senior Secured Revolving

Credit Facility Agreement by and among Zenergy Brands, Inc., Zenergy Energy Services, LLC

and TCA Special Situations Credit Strategies ICAV dated September 26, 2019 (the “September

Revolving Credit Facility”). Zen Technologies, ZPGI, NAUP, Zenergy Labs, Enertrade and ZAI

are guarantors under the Revolving Credit Facility. The September Revolving Credit Facility has

a revolving credit limit in the maximum amount of $5,000,000. As of the date hereof, the

Prepetition Senior Creditor has not lent any money under the September Revolving Credit Facility

and has stated that it will not do so absent the initiation of these bankruptcy cases. This has led to

a lack of liquidity for the Debtors’ businesses.

IV.      Unsecured Promissory Notes

         17.      In order for Zenergy Brands to effectively market, sell, and implement Master

Energy Service Agreements (“MESAs” and each a “MESA”), it must utilize third-party financing

entities to provide project and strategic financing toward fulfilling its working capital requirements

to acquire and install the equipment required under the MESA. The Debtors have entered to

various unsecured promissory notes (the “Unsecured Promissory Notes) to obtain this financing.

         18.      As of the Petition Date, the Debtors are obligors (either as borrower or guarantor)

on a principal amount of prepetition Unsecured Promissory Notes totaling approximately

$4,634,894 as set forth below. The Unsecured Promissory Notes have various maturity dates. The

majority of the Unsecured Promissory Notes grant the holder the option to convert the Unsecured

Promissory Note into Zenergy Brand’s Class A Common Stock according to the terms of the

respective debt instrument. The Debtors are in default under certain of the Unsecured Promissory

Notes.


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                  Unsecured Promissory Notes                                   Outstanding Principal
                                                                                     Amount

     Byron Young                                                            $260,000

     Mick Zeigler                                                           $400,000

     Ashley Steffan                                                         $100,000

     Collision Capital                                                      $50,000

     Bellridge Capital                                                      $269,500

     Actus                                                                  $82,432

     MorningView                                                            $39,983

     2 Plus 2                                                               $37,233

     Vista                                                                  $96,520

     EMA Financial                                                          $78,401

     RB Capital                                                             $1,092,500

     Powerup Lending                                                        $73,325

     Greentree                                                              $75,000

     K Club – Sraffan, Kildare, Ireland                                     $25,000

     Partner and Friends                                                    $40,000

     Free & Free                                                            $600,000

     NAUP Note                                                              $165,000

     TCN Promissory Note                                                    1,150,000

     Total Notes                                                            $4,634,894



V.    TCN Promissory Note

      19.       In conjunction with ZPGI’s acquisition of Enertrade, on April 3, 2018, ZPGI issued

an unsecured Promissory Note to Luccirelli & Gomez LLC and TCN Holdings, LLC in the amount

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of $1,150,000 (the “TCN Note”). The TCN Note is interest free and the principal balance was due

and owed in full on November 2, 2018.

VI.    NAUP Investments Promissory Note

       20.      In conjunction with Zenergy Brand’s acquisition of NAUP on June 1, 2017,

Zenergy Brands issued an unsecured Promissory Note to NAUP Investments, LLC in the amount

of $165,000 (the “NAUP Note”). The principal balance was due and owed in full on November

2, 2018.

VII.   Trade Vendor Debt

       21.      The Debtors rely on vendors to provide goods and services necessary for the

Debtors to provide goods and services to their customers. As of the Petition Date, the Debtors

estimate that they cumulatively owe approximately $920,853 to trade vendors.

           The Debtors’ Liquidity Needs and Efforts to Acquire Alternative Financing

I.     The Debtors Cannot Prudently Operate their Businesses by Operating Only on a
       Cash-Collateral Basis.

       22.      In connection with their liquidity struggles, the Debtors, with the assistance of their

advisors, analyzed their cash needs and determined that use of the Cash Collateral, alone, was

insufficient to operate their business, and that additional funding was necessary, for a number of

factors. For example, additional financing is necessary to: (a) fund working-capital requirements

and other operational expenses in connection with the ordinary course operation of the Debtors’

business; (b) send a strong market signal that the Case is well-funded; (c) provide a stable platform

for their business; (d) fund the Debtors’ pursuit of a value-maximizing restructuring or transaction

for the benefit of their stakeholders; and (e) satisfy the administrative expenses to be incurred.

       23.      The Debtors entered chapter 11 with limited available liquidity, which is

significantly below the optimal level required to preserve and maximize value. The Debtors

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business requires up front capital funding in order to obtain MESAs, which are the life-blood of

the company. Without access to liquidity, the Debtors are unable to continue pursuing and

obtaining MESAs, which are necessary to continue operations. Further, customers may seek other

alternative products and services, and vendors and suppliers may refuse to do business with the

Debtors if there exists a market perception that the Chapter 11 Case is not well-funded and the

Debtors cannot effectuate fulfill their existing MESAs.

       24.      The Debtors therefore require immediate access to liquidity to stave off what would

be substantial damage to their operations. The Debtors may not have sufficient liquidity to continue

their business operations in the ordinary course to the material detriment of customers, creditors,

employees, and other parties in interest, jeopardizing the Case. Therefore, the Debtors have an

immediate need to incrementally access the DIP Facility on an as-needed and interim basis.

       25.      Absent the immediate relief requested by this Motion, the Debtors face a material

risk of substantial, irreparable, and ongoing harm. Access to Cash Collateral and new capital under

the DIP Facility will ensure that the Debtors have sufficient funds to preserve and maximize the

value of its estates, responsibly administer the Case, and consummate a value-maximizing

transaction.

II.    Alternative Sources of Financing Are Not Available On Better Terms.

       26.      Recognizing a financing need, the Debtors sought funding from a variety of

financial institutions, lenders, and the Debtors’ incumbent secured lender. In this process, the

Debtors solicited four lenders. None of these lenders was willing to provide financing.

       27.      The Debtors sought potential lenders based on a number of factors, including,

among other things, their ability to complete diligence quickly and willingness to lend based on

the Debtors current capital structure. Ultimately, the Debtors determined that debtor-in-possession

financing was only viable from their Prepetition Senior Creditor.
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       28.      The Debtors have engaged in arms’-length negotiations with the Lender regarding

the terms of the DIP Facility. The DIP Facility will allow the Debtors to continue to operate in the

Case while undertaking the process for a value maximizing restructuring or transaction for their

estates. The proposed DIP Facility represents a negotiated resolution with the Prepetition Senior

Creditor and Lender that will allow the Debtors to continue to use Cash Collateral and to gain the

additional financing necessary to operate in the Case. Thus, the Debtors determined that the

proposed DIP Facility provides the best path forward for the Debtors under the circumstances to

both fund the Case while providing the flexibility necessary for the Debtors to maximize value for

all stakeholders.

                                                  Basis for Relief

I.     Entering into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
       Business Judgment.

       29.      The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facility, and continue

using the Cash Collateral. Courts grant considerable deference to a debtor’s business judgment in

obtaining postpetition secured credit, so long as the agreement to obtain such credit does not run

afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re N. Bay

Gen. Hosp., Inc., No. 08-20368 (Bankr. S.D. Tex. July 11, 2008) (order approving postpetition

financing on an interim basis as exercise of debtors’ business judgment); In re L.A. Dodgers LLC,

457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the business

judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc., 115 B.R. 34,

40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion under section

364 is to be utilized on grounds that permit reasonable business judgment to be exercised so long



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as the financing agreement does not contain terms that leverage the bankruptcy process and powers

or its purpose is not so much to benefit the estate as it is to benefit a party-in-interest.”).

        30.     Courts grant debtors considerable deference in acting in accordance with their

sound business judgment in obtaining such credit. See In re Barbara K. Enters., Inc., No. 08-

11474, 2008 WL 2439649, at *14 (Bankr. S.D.N.Y. June 16, 2008) (explaining that courts defer

to a debtor’s business judgment “so long as a request for financing does not ‘leverage the

bankruptcy process’ and unfairly cede control of the reorganization to one party in interest”).

Specifically, to determine whether a debtor has met this business judgment standard, a court need

only “examine whether a reasonable business person would make a similar decision under similar

circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In re Curlew

Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should not second

guess a debtor’s business decision when that decision involves “a business judgment made in good

faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under the

[Bankruptcy] Code”).

        31.     Further, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Elingsen

McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have

to enter into “hard bargains” to acquire funds for its reorganization).

        32.     The Debtors’ determination to move forward with the DIP Facility is an exercise

of its sound business judgment following an arms’-length process and careful evaluation of

available alternatives. Specifically, the Debtors and their advisors determined that postpetition


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financing will create certainty with respect to cash flows necessary for the administration of the

Case and the continued operation of the Debtors’ businesses. The Debtors believe that they have

obtained the best financing available because: (a) the DIP Facility permits the Debtors to avoid

value-destructive priming issues; (b) third-party lenders were unwilling to provide viable debtor-

in-possession financing junior to the Prepetition Senior Creditor due to the Debtors’ high level of

existing secured debt obligations; and (c) the DIP Facility presents the best financing reasonably

available to the Debtors. Finally, entry into the DIP Facility with the Debtors’ Prepetition Senior

Creditor will likely avoid a costly priming and adequate-protection fight that would cause

significant uncertainty among the Debtors’ vendors, employees, customers, and others.

Accordingly, the Court should authorize the Debtors’ entry into the DIP Facility, as it is a

reasonable exercise of the Debtors’ business judgment

II.    The Debtors Should Be Authorized to Grant Liens and Superpriority Claims

       33.      The Debtors propose to obtain financing under the DIP Facility by providing

security interests and liens as set forth in the Interim and Final Financing Orders pursuant to section

364(c) of the Bankruptcy Code. Specifically, the Debtors propose to provide to the Lender

continuing, valid, binding, enforceable, non-avoidable, and automatically and properly perfected

postpetition security interests in and liens on the DIP Collateral, subject to the DIP Carve Out (as

set forth and defined in the Interim Order), which includes substantially all of the Debtors’ assets.

       34.      The statutory requirement for obtaining postpetition credit under section 364(c) is

a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c); see In re Crouse

Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c) of the

Bankruptcy Code is authorized, after notice and hearing, upon showing that unsecured credit

cannot be obtained). Courts have articulated a three-part test to determine whether a debtor is
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entitled to financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to

whether:

                a.       the debtor is unable to obtain unsecured credit under section
                         364(b) of the Bankruptcy Code, i.e., by allowing a lender
                         only an administrative claim;

                b.       the credit transaction is necessary to preserve the assets of
                         the estate; and

                c.       the terms of the transaction are fair, reasonable, and
                         adequate, given the circumstances of the debtor-borrower
                         and proposed lenders.

See In re Ames Dep’t Stores, 115 B.R. at 37–40; see also In re St. Mary Hosp., 86 B.R. 393,

401-02 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

       35.      The Debtors meet each part of this test. Due to the Debtors’ high level of existing

secured debt obligations, no third-party lenders have been willing to provide postpetition financing

junior to the Prepetition Senior Creditor. Therefore, the Debtors, in consultation with their

advisors, concluded that any workable financing likely would require the support of, or be

provided by, the Debtors’ Prepetition Senior Creditor. Absent the DIP Facility, the value of the

Debtors’ estates would be significantly impaired to the detriment of all stakeholders. Given the

Debtors’ circumstances, the Debtors believe that the terms of the DIP Facility, as set forth in the

Interim Order and the DIP Loan Documents, are fair, reasonable, and adequate, all as more fully

set forth below. For all these reasons, the Debtors submit that they have met the standard for

obtaining postpetition financing.

       36.      In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) provides

that a court “may authorize the obtaining of credit or the incurring of debt (1) with priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of [the

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Bankruptcy Code]; (2) secured by a lien on property of the estate that is not otherwise subject to a

lien; or (3) secured by a junior lien on property of the estate that is subject to a lien.” 11 U.S.C. §

364(c). As described above, the Debtors are unable to obtain unsecured credit. Therefore,

approving superpriority claims in favor of the Prepetition Senior Creditor and Lender is reasonable

and appropriate.

       37.      Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien, after

notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is

adequate protection of the interest of the holder of the lien on the property of the estate on which

such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). Accordingly, the

Debtors may incur “priming” liens under the DIP Facility if either (a) the Prepetition Senior

Creditor has consented or (b) the Prepetition Senior Creditor’s interests in collateral are adequately

protected. What constitutes adequate protection is decided on a case-by-case basis, and adequate

protection may be provided in various forms, including payment of adequate protection fees,

payment of interest, or granting of replacement liens or administrative claims. In re Mosello, 195

B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“[T]he determination of adequate protection is a fact-

specific inquiry . . . left to the vagaries of each case.”); In re Realty Sw. Assocs., 140 B.R. 360,

366 (Bankr. S.D.N.Y. 1992) (“‘Adequate protection’ is a question of fact because it has as its

linchpin the concept of value, and therefore is determined on a case-by-case basis.”) (citation

omitted); In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (the application of

adequate protection “is left to the vagaries of each case, but its focus is protection of the secured

creditor from diminution in the value of its collateral during the reorganization process”) (citation

omitted).


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        38.      The Debtors respectfully submit that their proposal more than satisfies the

requirements of “adequate” protection. As described more fully in the Interim Order, the Debtors

propose to provide a variety of adequate protection to protect the interests in the Debtors’ property

of the Prepetition Senior Creditor from any diminution in value of the Cash Collateral resulting

from the use of the Cash Collateral by the Debtors and the imposition of the automatic stay, subject,

in each case, to the Carve-Out (collectively, the “Adequate Protection Obligations”):8

                 a.       payment of $90,000 to the Prepetition Senior Creditor upon
                          the entry of the Final Order;

                 b.       additional adequate protection in the form of payment of the
                          Prepetition Senior Obligations from the proceeds of DIP
                          Collateral, indemnities and other amounts;

                 c.       valid and automatically perfected liens and security interests
                          in and upon the DIP Collateral;

                 d.       superpriority administrative claims under section 507(b) of
                          the Bankruptcy Code;

                 e.       payment of the fees and expenses of the Prepetition Senior
                          Creditor and Lender; and

                 f.       compliance with the Approved Budget.

        39.      The Debtors respectfully submit that this package is more than sufficient to

constitute adequate protection here as “[a]dequate protection, not absolute protection, is the

statutory standard.” In re Beker Indus. Corp., 58 B.R. at 741 (citation omitted).

        40.      Also, the Debtors believe the likely alternative available to the Case would be an

expedited liquidation of the Debtors’ assets rather than the Debtors’ continued operation as a going

concern. Such an outcome would, in turn, decrease the value available for all stakeholders. This




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 The following summary is qualified in its entirety by reference to the Interim Order. In the event of inconsistency
between this summary (including the defined terms therein), the Interim Order shall control and govern.

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is particularly true where the Debtors’ greatest value is servicing ongoing contracts, which require

the Debtors to continue operating. Thus, the DIP Facility provides these parties with adequate

protection by enhancing the value of these parties’ collateral. Bankruptcy Courts have recognized

that a debtor’s ability to maintain business value by operating in the ordinary course is itself a

significant source of adequate protection. See In re Salem Plaza Assocs., 135 B.R. 753, 758

(Bankr. S.D.N.Y. 1992) (holding that a debtor’s use of cash collateral to pay operating expenses,

thereby “preserv[ing] the base that generates the income stream,” provided adequate protection to

the secured creditor); In re Constable Plaza Assocs., L.P., 125 B.R. 98, 104-05 (Bankr. S.D.N.Y.

1991) (finding equity cushion alone was adequate protection when cash collateral was used to

preserve value of a building pledged as collateral and noting such use would “preserve or enhance

the value of the building which, in turn, will protect the collateral covered by [the] mortgage”).

III.   The Proposed Roll-Up is Appropriate

       41.      The proposed financing provides that all net proceeds from the disposition of DIP

Collateral shall be applied first on a pro rata payment to the Prepetition Senior Creditor and the

Lender, in proportion to such creditor’s outstanding financing or principal amount, as applicable,

owing under Prepetition Senior Debenture Documents and the DIP Loan Documents (the “Roll-

Up”). The result is a “creeping” (e.g., incremental) roll-up of the Prepetition Senior Creditor’s

prepetition debt.

       42.      Courts have permitted debtors to use postpetition financing to pay prepetition

claims of a lender where, as here, the loan cannot be obtained on any other basis and the claims of

the prepetition lender are secured.

       43.      The Roll-Up is necessary because the Lender is not willing to enter into the DIP

Facility unless the Roll-Up is approved by this Court.


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       44.      Courts routinely grant roll-ups, even where the secured obligation was subject to a

challenge. See In re Halcon Res. Corp., Case No. 16-11724 (BLS) (Bankr. D. Del. July 29, 2016);

In re Pacific Sunware of California, Inc. Case No. 16-10882 (LSS) (Bankr. D. Del. April 7, 2016).

       45.      The DIP Facility, including the Roll-Up, is the Debtors’ best available financing

option for a variety of reasons.

                a.       First, the incremental availability under the DIP Facility
                         under the Agreement provides the Debtors with the
                         necessary liquidity and time to pursue a value maximizing
                         restructure of the company or transaction, which will
                         maximize recoveries for all creditors.

                b.       Second, the DIP Facility is the only financing option that the
                         Debtors could obtain.

                c.       Third, obtaining the DIP Facility from the Lender allows the
                         Debtors to avoid a costly priming dispute that could disrupt
                         the Debtors’ restructuring efforts and ultimately be far
                         costlier for all parties-in-interest in the Case.

                d.       Fourth, no parties-in-interest will be prejudiced by the Roll-
                         Up because any statutory committee will be given an
                         opportunity to review the validity and enforceability of the
                         liens.

       46.      Indeed, the Debtors would be irreparably harmed without the ability to enter into

the DIP Facility, including the Roll-Up, and virtually all of their creditor constituencies would

suffer. The DIP Facility allows the Debtors the ability to use their Cash Collateral. Without the

DIP Facility, the viability of the Debtors’ restructuring efforts in the Case will be unclear.

       47.      Furthermore, the DIP Facility’s “creeping” Roll-Up feature is appropriate in these

circumstances and represents a sound exercise of the Debtors’ business judgment. The “creeping”

structure of the DIP Facility allows the prepetition indebtedness to be gradually “rolled-up” into

the DIP Facility over time both prior to and following the entry of the Final Financing Order. This

feature was a critical component of the willingness of the Lender to commit to provide funding

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under the DIP Facility. Indeed, the Lender would not have agreed to provide the DIP Facility

without a creeping roll-up of the prepetition obligations.

       48.      The request for a “creeping” Roll-Up is not novel and has been approved by other

bankruptcy courts. See In re Draw Another Circle, LLC, Case No. 16-11452 (KJC) (Bankr. D.

Del, June 14, 2016); In re EveryWare Global, Inc., Case No. 15-10743 (LSS) (Bankr. D. Del. April

10, 2015).

       49.      In light of the various benefits afforded by the Debtors’ entry into the DIP Facility,

as described above, the Debtors submit that the Roll-Up is appropriate and should be approved

pursuant to the Interim Order.

IV.    No Comparable Alternative to the DIP Facility Is Reasonably Available.

       50.      A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber Prods.,

Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only a few

lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky

Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank FSB v.

Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Ames Dep’t Stores, 115

B.R. at 37–39 (debtor must show that it made reasonable efforts to seek other sources of financing

under section 364(a) and (b)) (citing Snowshoe Co., 789 F.2d at 1088 (demonstrating that credit

was unavailable absent the senior lien by establishment of unsuccessful contact with other financial

institutions in the geographic area)); In re Stanley Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981)

(bankruptcy court’s finding that two national banks refused to grant unsecured loans was sufficient

to support conclusion that section 364 requirement was met).
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       51.      As noted above, the Debtors do not believe that comparable alternative sources of

financing are reasonably available given the realities imposed by the Debtors’ existing capital

structure and the Debtors’ unsuccessful solicitation of alternative financing proposals.

Substantially all of the Debtors’ existing assets, including Cash Collateral, are encumbered by the

Prepetition Senior Creditor. The Debtors conducted arms’-length negotiations with the Prepetition

Senior Creditor regarding the terms of the DIP Facility.

       52.      Thus, the Debtors determined that the DIP Facility provides the best opportunity

available to the Debtors under the circumstances to fund the Case. In addition to evidence to be

introduced at the hearing on the Interim Order if necessary, the Debtors submit that the requirement

of section 364 of the Bankruptcy Code that alternative credit on more favorable terms be

unavailable to the Debtors is satisfied.

V.     The Debtors Should Be Authorized to Use Postpetition Collateral, Including Cash
       Collateral.

       53.      Section 363 of the Bankruptcy Code generally governs the use of estate property.

Section 363(c)(2)(A) permits a debtor-in-possession to use cash collateral with the consent of the

secured party. Section 363(e) provides for adequate protection of interests in property when a

debtor uses cash collateral. Further, section 362(d)(1) of the Bankruptcy Code provides for

adequate protection of interests in property due to the imposition of the automatic stay. See In re

Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While section 361 of the Bankruptcy

Code provides examples of forms of adequate protection, such as granting replacement liens and

administrative claims, courts decide what constitutes sufficient adequate protection on a case-by-

case basis. In re Mosello, 195 B.R. at 289 (“[T]he determination of adequate protection is a fact-

specific inquiry . . . left to the vagaries of each case.”); In re Realty Sw. Assocs., 140 B.R. at 366

(“‘Adequate protection’ is a question of fact because it has as its linchpin the concept of value, and

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therefore is determined on a case-by-case basis.”) (citation omitted); In re Beker Indus. Corp., 58

B.R. at 736 (the application of adequate protection “is left to the vagaries of each case, but its focus

is protection of the secured creditor from diminution in the value of its collateral during the

reorganization process”) (citation omitted).

       54.      The Debtors submit that the proposed Adequate Protection Obligations are

sufficient to protect the Prepetition Lenders from any diminution in value to the Cash Collateral

and Prepetition Collateral and satisfies the requirements of “adequate” protection: “[a]dequate

protection, not absolute protection, is the statutory standard.” In re Beker Indus. Corp., 58 B.R. at

741 (citation omitted).

       55.      In addition to the proposed Adequate Protection Obligations, the critical liquidity

provided by the proposed DIP Facility permits the Debtors to continue as a going concern to

consummate a value-maximizing transaction. The Debtors submit that continuing as a going

concern provides additional adequate protection to the Prepetition Lenders. Cf. In re Salem Plaza

Assocs., 135 B.R. at 758 (holding that debtor’s use of cash collateral from shopping center to pay

operating expenses, thereby “preserv[ing] the base that generates the income stream,” provided

adequate protection to the secured creditor); In re Constable Plaza Assocs., L.P., 125 B.R. at 104–

05 (finding equity cushion alone was adequate protection when cash collateral was used to

preserve value of a building pledged as collateral and noting such use would “preserve or enhance

the value of the building which, in turn, will protect the collateral covered by [the] mortgage”).

Further, the incremental value generated by use of the proceeds of the proposed DIP Facility will

inure to the ultimate benefit of the Debtors’ estates and their stakeholders. Courts have held

enhancement of collateral is a critical component of adequate protection and have considered

“whether the value of the debtor’s property will increase as a result of the” use of the collateral.


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In re 495 Cent. Park Ave. Corp., 136 B.R. 626 (Bankr. S.D.N.Y. 1992) (finding that improvements

to collateral financed by postpetition financing proceeds would improve collateral value in excess

of loans and, therefore, provided adequate protection); see In re Hubbard Power & Light, 202 B.R.

680 (Bankr. E.D.N.Y. 1996) (approving postpetition financing to be used, in part, to fund cleanup

costs of encumbered property anticipated to improve the value of the collateral, thereby serving

the goal of adequate protection).

        56.     In light of the foregoing, the Debtors further submit, and the Prepetition Lenders

agree, that the proposed Adequate Protection Obligations to be provided for the benefit of the

Prepetition Lenders are appropriate. Thus, the Debtors’ provision of the Adequate Protection

Obligations is not only necessary to protect against any diminution in value but is fair and

appropriate under the circumstances of the Case to ensure the Debtors are able to continue using

the Cash Collateral, subject to the terms and limitations set forth in the Interim Order, for the

benefit of all parties in interest and their estates

VI.     The DIP Financing Fees are Reasonable and Should Be Approved

        57.     Under the DIP Loan Documents, the Debtors agreed, subject to Bankruptcy Court

approval, to pay certain fees and expenses to the Prepetition Senior Creditor and Lender. The

Debtors and the Lender agree that these fees are an integral component of the overall terms of the

DIP Facility, and required by the Lender and Prepetition Senior Creditor as consideration for the

extension of postpetition financing. Accordingly, the Bankruptcy Court should authorize the

Debtors to pay the fees provided under the Interim Order in connection with entering into the DIP

Loan Documents.

VII.    Modification of the Automatic Stay Is Warranted

        58.     The proposed Interim Order further provides that the automatic stay is modified as

necessary to permit the Debtors to grant the DIP Liens to the Lender and Prepetition Senior
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Creditor and to incur all liabilities and obligations set forth in the Interim Order. Finally, the

proposed Interim Order provides that, following the occurrence of an Event of Default, the

automatic stay shall be vacated and modified to the extent necessary to permit the Lender to

exercise all rights and remedies in accordance with the DIP Loan Documents, or applicable law.

       59.      Stay modifications of this kind are ordinary and standard features of debtor-in-

possession financing arrangements, and, in the Debtors’ business judgment, are reasonable and

fair under the circumstances of the Case. See, e.g., In re BCBG Max Azria Global Holdings, LLC,

Case No. 17-10466 (SCC) (Bankr. S.D.N.Y. Mar. 28, 2017); In re Avaya, Inc., Case No. 17-10089

(SMB) (Bankr. S.D.N.Y. Mar. 10, 2017); In re Dacco Transmission Parts (NY), Inc., Case No. 16-

13245 (MKV) (Bankr. S.D.N.Y. December 23, 2016); In re Breitburn Energy Partners LP, Case

No. 16-11390 (SMB) (Bankr. S.D.N.Y. August 19, 2016); In re Aéropostale, Inc., Case No. 16-

11275 (SHL) (Bankr. S.D.N.Y. June 13, 2016).

VIII. The Lender Parties Should Be Deemed Good-Faith Lenders under Section 364(e).

       60.      Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect

on loans extended to a debtor, and its right in any lien securing those loans, even if the authority

of the debtor to obtain such loans or grant such liens is later reversed or modified on appeal.

Specifically, section 364(e) provides that:

                The reversal or modification on appeal of an authorization under this
                section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                or of a grant under this section of a priority or a lien, does not affect
                the validity of any debt so incurred, or any priority or lien so granted,
                to an entity that extended such credit in good faith, whether or not
                such entity knew of the pendency of the appeal, unless such
                authorization and the incurring of such debt, or the granting of such
                priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e). Because “good faith” is not defined in the Bankruptcy Code, courts often look

to case law under section 363(m). 7 Collier on Bankruptcy, 16th ed. ¶ 364.08, p. 37 (“Section

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364(e) is consistent with section 363(m), which provides similar protection to a buyer or lessee of

property of the estate in a section 363 transaction.”). As one court explained, “the misconduct that

would destroy a purchaser’s good faith status at a judicial sale involves fraud, collusion between

the purchaser and other bidders or the trustee, or an attempt to take grossly unfair advantage of

other bidders.” In re Pan Am Corp., No. 91 CIV. 8319 (LMM), 1992 WL 154200, at *4 (S.D.N.Y.

June 18, 1992) (citing In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)); accord

In re General Growth Properties, Inc., 423 B.R. 716, 722 (S.D.N.Y. 2010).

       61.      As explained in detail herein, the DIP Facility is the result of the Debtors’

reasonable and informed determination that the Lender offered the most favorable terms on which

to obtain necessary postpetition financing to allow for the successful conclusion of the Case.

       62.      The Debtors submit that the terms and conditions of the DIP Facility are reasonable

and appropriate under the circumstances, and the proceeds of the DIP Facility will be used only

for purposes that are permissible under the Bankruptcy Code. Further, no consideration is being

provided to any party to the DIP Facility other than as described herein. Accordingly, the

Bankruptcy Court should find that the Lender is a “good faith” lender within the meaning of section

364(e) of the Bankruptcy Code and are entitled to all of the protections afforded by that section.

         Immediate Relief Is Required to Avoid Immediate and Irreparable Harm

       63.      The Court may grant interim relief in respect of a motion filed pursuant to sections

363(c) or 364 of the Bankruptcy Code and to repay obligations arising prior to the Petition Date

where, as here, interim relief is “necessary to avoid immediate and irreparable harm to the estate

pending a final hearing.” Fed. R. Bankr. P. 4001(b)(2), (c)(2); 6003(b). As discussed in the First-

Day Declaration, the Debtors and their estates will suffer immediate and irreparable harm if the

interim relief requested herein, including authorizing the Debtors to use the Cash Collateral and to

borrow under the DIP Facility, is not granted promptly. Accordingly, the Debtors have an
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immediate need for access to liquidity to, among other things, continue the operation of their

businesses, maintain important relationships with customers, meet payroll, procure goods and

services from vendors and suppliers, and otherwise satisfy their working capital and operational

needs, all of which are required to preserve and maintain the Debtors’ going concern value for the

benefit of all parties-in-interest.

        64.     The Debtors believe that the current Approved Budget and its projections provide

an accurate reflection of the Debtors’ funding requirements over the identified period, which will

allow the Debtors to meet their obligations—including the administrative expenses of the Case—

and are reasonable and appropriate under the circumstances.

        65.     The importance of a debtor’s ability to secure postpetition financing to prevent

immediate and irreparable harm to its estate has been repeatedly recognized in other bankruptcy

courts in similar circumstances. See, e.g., In re SunEdison, Inc., Case No. 16-10992 (SMB)

(Bankr. S.D.N.Y. June 9, 2016) (relief necessary to avoid immediate and irreparable harm to the

Debtors); In re MPM Silicones, LLC, Case No. 14-22503 (RDD) (Bankr. S.D.N.Y. May 23, 2014)

(same); In re United Retail Grp., Inc., No. 12-10405 (SMB) (Bankr. S.D.N.Y. Feb. 2, 2012)

(same); In re Sbarro, Inc., No. 11-11527 (SCC) (Bankr. S.D.N.Y. Apr. 5, 2011) (same); In re MSR

Resort Golf Course LLC, No. 11-10372 (SHL) (Bankr. S.D.N.Y. Mar. 16, 2011) (same); In re

Insight Health Servs. Holdings Corp., No. 10-16564 (AJG) (Bankr. S.D.N.Y. Jan. 4, 2011).

Accordingly, for all of the reasons set forth above, prompt entry of the Interim Order is necessary

to avert immediate and irreparable harm to the Debtors’ estates and is consistent with, and

warranted under, Bankruptcy Rules 4001(b)(2) and (c)(2).

                    Request for this Motion to be heard at First-Day Hearing

        66.     The Court has set a first-day hearing on October 29 (the “First-Day Hearing”). The

Debtors request that this Motion be heard at the First-Day Hearing. The Debtors require immediate
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funding to continue their operations. As discussed above, the Debtors’ inability to receive

immediate funding will result in immediate and irreparable harm.

                                        Request for a Final Hearing

       67.      Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date that is as soon as practicable, and in no event later than 25 days after the date

of the hearing on the Interim Order, to hold a hearing to consider entry of the Final Financing

Order and the permanent approval of the relief requested in this Motion and fix the time and date

prior to the Final Hearing for parties to file objections to this Motion.

                         Waiver of Bankruptcy Rules 6004(a) and 6004(h)

       68.      To successfully implement the foregoing, the Debtors request that the Bankruptcy

Court enter an order providing that notice of the relief requested herein satisfies Bankruptcy Rule

6004(a) and that the Debtors have established cause to exclude such relief from the 14-day stay

period under Bankruptcy Rule 6004(h).

                                                        Notice

       69.      The Debtors will provide notice of this Motion to: (a) the Office of the United States

Trustee for the Eastern District of Texas; (b) the United States Attorney’s Office for the Eastern

District of Texas; (c) the Internal Revenue Service; (d) counsel for TCA Special Situations Credit

Strategies ICAV, the Lender, and TCA Global Credit Master Fund, LP, the Debtors’ Prepetition

Senior Creditor; (e) the state attorneys general for states in which the Debtors conduct business;

(f) the Securities and Exchange Commission; and (g) any party that has requested notice pursuant

to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested,

no other or further notice need be given.




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                                                 No Prior Request

       70.      No prior request for the relief sought in this Motion has been made to this or any

other court.

       WHEREFORE, for the reasons set forth herein and in the First-Day Declaration, the

Debtors respectfully request that this Court (a) enter the Interim and Final Financing Orders

granting the relief requested herein on an interim and permanent basis, respectively, and (b) grant

such other and further relief as the Court deems appropriate.


  Dated: October 27, 2019                                Respectfully Submitted,

                                                         /s/ Marcus A. Helt
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                                                         Possession




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                                      CERTIFICATE OF SERVICE

               I certify that on October 27, 2019, I caused a copy of the foregoing document to
be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Eastern District of Texas.

                                                                   /s/ Marcus A. Helt
                                                                   Marcus A. Helt
